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UNITED STA TES DISTRICT COURT

 

 

EASTERN DIVISION
DAYTHAN HOUSER, JUDGMENT IN A CIVIL éuA§E
Piaintiff,
v.
CORREC'I`IONS CORPORATION CASE NO: 1:03-1227-B

OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Couit. The issues have been
considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July S, 2005, this cause is hereby dismissed With prejudice.

ROVED:

eQFw/\

THOMAS M. GO|.I.D

 

Clerk of Court

(By) Deputy Clerk

This document entered on the docket sheet' m compliance
with Hule 58 and or 79 (a} FRCP on __Q:° °H____jQS

 

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Honorable .1. Breen
US DISTRICT COURT

